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      FORD MOTOR COMPANY
 11
 12                      UNITED STATES DISTRICT COURT
 13                    CENTRAL DISTRICT OF CALIFORNIA
 14                                   WESTERN DIVISION
 15
 16   JASON SHAPIRO and ANDREW                 Case No. 2:15-cv-09200-AB-MRWx
      FREITAS, on behalf of themselves and
 17   those similarly situated,                 CLASS ACTION
 18                     Plaintiffs,             FORD MOTOR COMPANY’S
                                                REQUEST FOR JUDICIAL
 19         v.                                  NOTICE IN SUPPORT OF ITS
                                                MOTION TO DISMISS AND/OR
 20   FORD MOTOR COMPANY,                       STRIKE ALLEGATIONS IN
                                                COMPLAINT
 21                     Defendant.
                                               Hearing Date:   June 27, 2016
 22                                            Time:           10:00 a.m.
                                               Place:          4
 23                                            Judge:          Hon. Andre Birotte, Jr.
 24
 25
 26
 27
 28
                                                      FORD MOTOR COMPANY’S REQUEST
                                                                 FOR JUDICIAL NOTICE
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  1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2         PLEASE TAKE NOTICE THAT on June 27, 2016, at 10:00 a.m., or as soon
  3   thereafter as the matter may be heard, in Courtroom 4 of the above-captioned Court,
  4   located at 312 North Spring Street, Los Angeles, California, Defendant Ford Motor
  5   Company (“Ford”) will request that the Court take judicial notice under Rule 201 of
  6   the Federal Rules of Evidence of the following documents in support of Ford’s
  7   Motion to Dismiss and/or Strike Allegations in Complaint:
  8         1. The 2013 Ford Explorer Owner Manual, the relevant excerpts of which
  9            are attached as Exhibit 1 to the Declaration of Michael Reynolds (the
 10            “Reynolds Declaration”);
 11         2. The 2013 Ford Focus Owner Manual, the relevant excerpts of which are
 12            attached as Exhibit 2 to the Reynolds Declaration;
 13         3. The archived Ford Explorer Brochures & Guides webpage as it appeared
 14            on August 16, 2013, available on the Internet Archive at
 15            https://web.archive.org/web/20130816234540/http://www.ford.com/suvs/
 16            explorer/2013/brochures/, attached as Exhibit 3 to the Reynolds
 17            Declaration;
 18         4. The archived Ford Support webpage as it appeared on October 15, 2012,
 19            available on the Internet Archive at https://web.archive.org/web/
 20            20121015043112/http://support.ford.com/, attached as Exhibit 4 to the
 21            Reynolds Declaration;
 22         5. The archived Ford Owner Manuals webpage as it appeared on October 11,
 23            2012, available on the Internet Archive at https://web.archive.org/web/
 24            20121011193023/https://owner.ford.com/servlet/ContentServer?
 25            pagename=Owner/Page/OwnerGuidePageVehicleLookup&
 26            BackToLogin=Owner/Page/OwnerGuidePage&ord=23587283, attached
 27            as Exhibit 5 to the Reynolds Declaration; and
 28
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  1         6. The complaint previously filed by Plaintiff Jason Shapiro in Draeger v.
  2              Toyota Motor Corp., No. 2:15-CV-06491-AB-MRW (C.D. Cal. Aug. 26,
  3              2015) (“Draeger”), Docket No. 1, attached as Exhibit 6 to the Reynolds
  4              Declaration.
  5         Under Federal Rule of Evidence 201, “the court may judicially notice a fact
  6   that is not subject to reasonable dispute because it can be accurately and readily
  7   determined from sources whose accuracy cannot reasonably be questioned.” Fed. R.
  8   Evid. 201(b)(2). On a Rule 12(b)(6) motion, the court may consider documents that
  9   are the proper subject of judicial notice. Akhtar v. Mesa, 698 F.3d 1202, 1212 (9th
 10   Cir. 2012). This rule serves the critical policy interest of “preventing plaintiffs from
 11   surviving a Rule 12(b)(6) motion by deliberately omitting references to documents
 12   upon which their claims are based.” Zella v. E.W. Scripps Co., 529 F. Supp. 2d
 13   1124, 1131 (C.D. Cal. 2007) (citation omitted).
 14   I.    ARGUMENT
 15         The Court should take judicial notice of the owner manuals, archived Ford
 16   webpages, and Mr. Shapiro’s complaint in Draeger because: (1) the owner manuals
 17   and webpages are incorporated by reference in Plaintiffs’ Complaint, which refers
 18   to and relies on “pre-sale vehicle documents” and “Ford Group’s websites”; (2) the
 19   owner manuals and Ford webpages are accessible as they appeared when Plaintiffs
 20   purchased and leased their vehicles on the Internet Archive website, a source whose
 21   accuracy cannot be reasonably disputed; and (3) Mr. Shapiro’s complaint in
 22   Draeger is a matter of public record.
 23         A.      The Owner Manuals, Available to Plaintiffs on Ford’s Website
                    Before Purchase, Are Incorporated By Reference in the Complaint
 24
            The Court may take judicial notice of the owner manuals for Plaintiffs’
 25
      vehicles and the archived webpages as they appeared when Plaintiffs purchased and
 26
      leased their vehicles because these documents are incorporated by reference in
 27
      Plaintiffs’ Complaint. Under the “incorporation by reference” doctrine, the Court
 28
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  1   may take judicial notice of documents “whose contents are alleged in a complaint
  2   and whose authenticity no party questions, but which are not physically attached to
  3   the [plaintiff’s] pleading.” Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005)
  4   (citations omitted). The document need not be expressly named in the complaint—
  5   judicial notice is appropriate if the “plaintiff’s claim depends on the contents of the
  6   document, the defendant attaches the document to its motion to dismiss, and the
  7   parties do not dispute the authenticity of the document, even though the plaintiff
  8   does not explicitly allege the contents of that document in the complaint.” Zella,
  9   529 F. Supp. 2d at 1131 (citing Knievel, 393 F.3d at 1076).
 10         Plaintiffs allege throughout the Complaint that “Ford Group . . . failed to
 11   disclose to Plaintiffs and/or concealed material information regarding the Defect
 12   from Plaintiffs” (see Compl. ¶¶ 153(a), 177, 181, 195, 205, 221), specifically
 13   alleging that “[s]uch information is not disclosed in any pre-sale documents,
 14   displays, advertisements, on Ford Group’s websites, or on any other pre-sale
 15   communication” (id. ¶ 153(d)) (emphasis added). The Complaint asserts that
 16   Plaintiffs’ Counsel “collected and analyzed relevant pre-sale vehicle documents for
 17   each of the Affected Vehicles, and there are no warnings whatsoever in the
 18   Affected Automobiles’ pre-sale materials to alert consumers of the deadly carbon
 19   monoxide risks associated with the Defect” (id. ¶ 27 (emphasis in original)), and
 20   that “Plaintiffs are aware of no document, communication, or other place or thing,
 21   in which Ford Group disclosed the truth about the Defect in its Affected Vehicles to
 22   consumers” (id. ¶ 153(d)).
 23         The owner manuals for Plaintiffs’ vehicles and the archived webpages on
 24   which they were available are “pre-sale documents,” “Ford Group’s websites,”
 25   “pre-sale communication[s],” and “pre-sale vehicle documents” on which Plaintiffs’
 26   claims necessarily rely. The owner manuals were published and available on Ford’s
 27   website before Plaintiffs’ purchases or leases (as demonstrated by the archived
 28
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  1   webpages) and are also located within the vehicles at Ford dealerships. Plaintiffs’
  2   fraudulent omission claims—in which they claim that Ford never disclosed to
  3   consumers the lack of an automatic engine shut-off feature—necessarily rely on all
  4   the documents Ford made available to consumers before purchase or lease,
  5   including the owner manuals and Ford webpages. Thus, the manuals and webpages
  6   are judicially noticeable under the incorporation by reference doctrine. See Zella,
  7   529 F. Supp. 2d at 1131.
  8         Indeed, when Mr. Shapiro filed his original complaint against Ford in
  9   Draeger v. Toyota Motor Corp., No. 2:15-CV-06491-AB-MRW (C.D. Cal. Aug. 26,
 10   2015), he specifically alleged that his counsel had analyzed the owner manuals for
 11   the subject vehicles for warnings about the alleged Defect. (See Reynolds Decl.
 12   Ex. 5 (Draeger v. Toyota Motor Corp., No. 2:15-CV-06491-AB-MRW (C.D. Cal.
 13   Aug. 26, 2015), Dkt. No. 1 ¶ 1, n.1, ¶ 25.) After Ford filed its motion to dismiss in
 14   Draeger, pointing out that the owner manual for Mr. Shapiro’s vehicle specifically
 15   disclosed the lack of an automatic engine shut-off feature, Mr. Shapiro filed his
 16   “First Amended Class Action Complaint” (Compl. at 1), and referred instead to
 17   “sales brochures” and “pre-sale vehicle documents” rather than the “vehicle
 18   manuals” he had previously professed to have read:
 19   Draeger Complaint                            Complaint
 20   Paragraph 1, footnote 1: “Exhibit 1 is the   Paragraph 1, footnote 1: “Exhibit 1 is the
      result of hundreds of hours of research      result of hundreds of hours of research
 21   and was compiled based on analysis of        and was compiled based on analysis of
 22   thousands of pages of automotive             thousands of pages of sales brochures
      manuals and sales brochures for each of      for each of the more than 1,500 models,
 23   the more than 1,500 models, submodels,       submodels, and trim levels listed in
 24   and trim levels listed in Exhibit 1. The     Exhibit 1. The sales brochures confirm
      brochures and sales manuals confirm          that each make no mention of the lack of
 25   that: 1) each make representations of        Auto-Off as defined and described
 26   safety, and 2) each make no mention of       herein.”
      the lack of Auto-Off safety defect as
 27   defined and described herein” (emphasis
 28   added).
                                                             FORD MOTOR COMPANY’S REQUEST
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  1   Paragraph 27: “[Defendants] have failed       Paragraph 29: “Ford Group has failed to
  2   to recall, warn of the Defect in their auto   rectify or warn of the Defect in their
      manuals or sales brochures, or                sales brochures or any other pre-sale
  3   otherwise rectify Affected Vehicles and       materials, or otherwise rectify Affected
  4   institute Auto-Off . . .” (emphasis           Vehicles and institute Auto-Off . . .”
      added).                                       (emphasis added).
  5
      The owner manuals are thus incorporated by reference in Plaintiffs’ Complaint
  6
      whether referred to as “pre-sale vehicle documents” (as they are named in the
  7
      Complaint) or more explicitly as “automotive manuals” (as they are named in the
  8
      Draeger Complaint). See Zella, 529 F. Supp. 2d at 1131 (judicial notice is intended
  9
      to prevent “plaintiffs from surviving a Rule 12(b)(6) motion by deliberately
 10
      omitting references to documents upon which their claims are based”); Cantu v.
 11
      Resolution Trust Corp., 4 Cal. App. 4th 857, 877 (1992) (under California law,
 12
      “courts may properly take judicial notice of a party’s earlier pleadings and positions
 13
      as well as established facts from both the same case and other cases (emphasis in
 14
      original)); Hills Transp. Co. v. Southwest Forest Industries, Inc., 266 Cal. App. 2d
 15
      702, 713 (1968) (“A pleader may not attempt to breathe life into a complaint by
 16
      omitting relevant facts which made his previous complaint defective.”). Because
 17
      they are incorporated by reference in Plaintiffs’ Complaint, the Court should take
 18
      judicial notice of the owner manuals and archived Ford webpages.
 19
            B.     The Owner Manuals and Ford Webpages Are Easily and Readily
 20                Accessible and Cannot be Reasonably Disputed
 21         The Court may also take judicial notice of the owner manuals and the
 22   archived webpages as facts that can be accurately and readily determined from a
 23   source—the Internet Archive and current webpages—whose accuracy cannot
 24   reasonably be questioned. Fed. R. Evid. 201; Erickson v. Nebraska Mach. Co.,
 25   2015 WL 4089849, at *1 n.1 (N.D. Cal. July 6, 2015) (taking judicial notice of
 26   contents of archived webpages on the Internet Archive “Wayback Machine”).
 27         Publicly available information published on a website is judicially noticeable
 28
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  1   as matters that can be “accurately and easily determined” from an accurate source
  2   under Rule 201. Reese v. Malone, 747 F.3d 557, 570 (9th Cir. 2014) (taking judicial
  3   notice of information posted on government website); Matthews v. Nat’l Football
  4   League Mgmt. Council, 688 F.3d 1107, 1113 (9th Cir. 2012) (taking judicial notice
  5   of information posted on defendant’s website). And the contents of a website as it
  6   appeared on a certain date, as shown on the Internet Archive (www.archive.org,
  7   also known as the “Wayback Machine”), is judicially noticeable. Wallack v. Idexx
  8   Labs., Inc., 2015 WL 5943844, at *16 (S.D. Cal. Oct. 13, 2015) (taking judicial
  9   notice of an archived webpage on the Internet Archive); Erickson v. Nebraska
 10   Mach. Co., 2015 WL 4089849, at *1 n.1 (N.D. Cal. July 6, 2015) (same); Tobinick
 11   v. Novella, 2015 WL 1526196, at *2 ¶ 12 (S.D. Fla. Apr. 2, 2015) (same);
 12   Tompkins v. 23andMe, Inc., 2014 WL 2903752, at *1 n.1 (N.D. Cal. June 25, 2014)
 13   (same).
 14         The Internet Archive is a database that continuously records and archives
 15   websites as they appeared on certain dates. As explained by the federal district
 16   court in the District of Delaware:
 17                [The Internet Archive’s] digital database is equivalent to a
                   paper library, but is filled with digital media like websites
 18                instead of books . . . . Internet Archive’s database
                   provides users with the ability to study websites that may
 19                have been changed or no longer exist. The chronological
                   records are compiled by routinely taking screenshots of
 20                websites as they exist on various days. Internet Archive
                   collects images through a process called crawling. A
 21                crawler or robot is an automated program that scours the
                   Internet and takes pictures of every web page that it is
 22                instructed to visit . . . . Any person with a web browser
                   can search Internet Archive’s database of archived
 23                images. Searching the database is accomplished via the
                   Wayback Machine, which Internet Archive provides on
 24                its website . . . . The Wayback Machine only provides a
                   window into the past where users can see what a website
 25                looked like on a specific date.
 26   Market-Alerts Pty., Ltd. v. Bloomberg Fin. L.P., 922 F. Supp. 2d 486, 494 (D. Del.
 27   2013). “[A]s a resource the accuracy of which cannot reasonable be questioned, the
 28
                                                             FORD MOTOR COMPANY’S REQUEST
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  1   Internet Archive has been found to be an acceptable source for the taking of judicial
  2   notice.” Pond Guy, Inc. v. Aquascape Designs, Inc., 2014 WL 2863871, at *4 (E.D.
  3   Mich. June 24, 2014).
  4         The Plaintiffs’ owner manuals are accessible on Ford’s current website,1 and
  5   thus their contents cannot reasonably be questioned. See Matthews, 688 F.3d at
  6   1113. The owner manuals were also accessible on Ford’s website before Plaintiffs
  7   obtained their vehicles in 2012 and 2013, a fact that can be easily and readily
  8   determined from the Internet Archive.2 The Court should therefore take judicial
  9   notice of the contents of Ford’s website, including the relevant owner manuals and
 10   the archived webpages from the Internet Archive.
 11         C.     The Plaintiffs’ Original Complaint is Part of the Public Record
 12         Finally, Mr. Shapiro’s prior complaint is a matter of public record and
 13   therefore should be judicially noticed. See Schweitzer v. Scott, 469 F. Supp. 1017,
 14   1020 (C.D. Cal. 1979); Draeger v. Toyota Motor Corp., No. 2:15-CV-06491-AB-
 15   MRW (C.D. Cal. Aug. 26, 2015), Dkt. No. 1.
 16   II.   CONCLUSION
 17         For the foregoing reasons, the Court should take judicial notice of the owner
 18   manuals, archived webpages, and the complaint in Draeger.
 19
 20
 21
      1
 22     Owner Manuals, FORD (Feb. 21, 2016, 3:44:00 PM), https://owner.ford.com/tools/
      account/how-tos/owner-manuals-search-results.html.
 23   2
        See 2013 Explorer Brochures & Guides, FORD (Aug. 16, 2013), https://web.
 24   archive.org/web/20130816234540/http://www.ford.com/suvs/explorer/2013/
      brochures/); Ford Ownership Tools, FORD, (Oct. 15, 2012) https://web.archive.org/
 25   web/20121015043112/http://support.ford.com/; Ford Owner Manuals for Ford
 26   Vehicles, Ford, (Oct. 11, 2012) https://web.archive.org/web/20121011193023/
      https://owner.ford.com/servlet/ContentServer?pagename=Owner/Page/
 27   OwnerGuidePageVehicleLookup&BackToLogin=Owner/Page/OwnerGuidePage&
 28   ord=23587283.
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  1         Dated: February 22, 2016         Respectfully submitted,
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  4
                                             By:   s/ Randall W. Edwards
  5                                                      Randall W. Edwards
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  6                                          Ford Motor Company
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